                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,

      v.                                           Case No. 15-Cr-108-pp

RODNEY ROWSEY,

                   Defendant.


    ORDER DENYING LETTER REQUEST TO RECOMMEND THAT THE
    DEFENDANT BE MOVED TO A FACILITY CLOSER TO MILWAUKEE
                       (DKT. NO. 509)


      On December 12, 2016, Rodney Rowsey pled guilty to one count of

conspiracy to possess with the intent to distribute and to distribute cocaine

and cocaine base. Dkt. No. 344. On May 12, 2017, the court sentenced the

defendant to serve seventy months in prison, and Rowsey asked the court to

recommend that the Bureau of Prisons place him in a facility as close to

Milwaukee as possible, and to place him in a facility that provided the RDAP

(Residential Drug Abuse) program. Dkt. No. 411. The judgment indicates that

the court did just that. Dkt. No. 412 at 2.

      On November 28, 2017, the court received a letter from Shanae Foxx, the

mother of the defendant’s son. Dkt. No. 509. Ms. Foxx indicated that the

defendant currently is located in Leavenworth, Kansas, that he has been there

“a couple months now and is not currently in any programs,” that Ms. Foxx’s

mother recently passed away, and that it is even harder on her and on their

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son to have the defendant so far away now that she has lost the support of her

mother. Ms. Foxx asks if there is anything the court can do to facilitate moving

the defendant closer to home, or anything the court can recommend. Id. Ms.

Foxx also called chambers recently to advise that the defendant’s father has

passed away and to reiterate her request about moving the defendant closer to

home.

      Unfortunately, the court has done all it can by recommending that the

Bureau of Prisons place the defendant as close to Milwaukee as possible and in

a facility that has the RDAP program. The decision about where to house an

inmate (and what programs to enroll him in) is completely within the discretion

of the Bureau of Prisons. The BOP looks to many factors—the availability of

beds, whether someone has drug treatment needs, the person’s security

classification, health issues—when it decides where to place an inmate, and it

is not bound by the court’s recommendation.

      The court sympathizes with Ms. Foxx regarding the passing of her

mother and the defendant’s father. It realizes that this is an especially hard

time for both Ms. Foxx and her son. While the court does not have the

authority to order the Bureau of Prisons to move the defendant, or to place him

in a particular facility, the court can advise Ms. Foxx that the Designation and

Sentence Computation Center (“DSCC”) of the Bureau of Prisons is the

department that makes classification and designation decisions. Ms. Foxx can

access information about classification and placement at

https://www.gop.gov/inmates/custody_and_care/designations.jsp. The email

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address for the Center is GRA-DSC/PolicyCorrespondence.bop.gov. The

telephone number is (972) 352-4400. The mailing address is United States

Bureau of Prisons Designation & Sentence Computation Center, U.S. Armed

Forces Reserve Complex, 346 Marine Forces Drive, Grand Prairie, TX 75051.

Ms. Foxx should include the defendant’s full name and BOP inmate number in

any correspondence with the Center.

      The court DENIES the letter request from Shanae Foxx to recommend

that Rodney Rowsey be moved to a facility closer to Milwaukee. Dkt. No. 509.

      Dated in Milwaukee, Wisconsin this 21st day of December, 2017.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




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